EXHIBIT E
DEPARTMENT OF HEALTH & HUMAN SERVICES
Centers for Medicare & Medicaid Services
1301 Young Street, Room 833
Dallas, Texas 75202                                        CENTERS
                                                              for MEDICARE & MEDICAID SERVICES

Division of Medicaid & Children’s Health, Region VI

October 29, 2010

Our Reference: SPA LA 09-56

Mr. Don Gregory, State Medicaid Director
Department of Health and Hospitals
Bienville Building
628 North 4" St.
P.O. Box 91030
Baton Rouge, LA 70821-9030
Attention: Allyson Lamy

Dear Mr. Gregory:

We have reviewed the proposed amendment to your Medicaid State Plan submitted under
Transmittal Number 09-56. This state plan amendment provides for supplemental payments for
outpatient services to non-rural, non-state hospitals that enter into an agreement with a state or
local governmental entity for the purpose of providing healthcare services to low income and
needy patients. The State has agreed to provide certification from the governmental entities that
the Intergovernmental Transfers (IGTs) are voluntary.

In the future, when the State submits a State Plan Amendment (SPA) that may impact Indians or
Indian health providers, CMS will look for evidence of the State’s tribal consultation process for
the SPA. Pursuant to section 1902 (a) (73) of the Act added by section 5006 (e) of the Recovery
and Reinvestment Act of 2009, the State must submit evidence to CMS regarding the solicitation
of advice prior to submission of the SPA. This consultation must include all federally recognized
tribes, Indian Health Service and Urban Indian Organizations within the state.

Transmittal Number 09-56 is approved with an effective date of January 1, 2010 as requested. A
copy of the HCFA — 179, Transmittal No. 09-56 dated December 30, 2009 is enclosed along
with the approved plan pages.

If you have any questions please contact Cheryl Rupley at (214) 767-6278.

                                     Sincerely,



                                     Bill Brooks
                                     Associate Regional Administrator

Enclosures
DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                                            FORM APPROVED
HEALTH CARE FINANCING ADMINISTRATION                                                                               OMB NO. 0938-0193




                                                                                                         :
  TRANSMITTAL AND NOTICE OF APPROVAL OF                                 1. TRANSMITTAL NUMBER:                2, STATE
           STATE PLAN MATERIAL                                                  09-56                 Louisiana
                                                                        3, PROGRAM IDENTIFICATION: TITLE XIX OF THE
       FOR: HEALTH CARE FINANCING ADMINISTRATION
                                                                           SOCIAL SECURITY ACT (MEDICAID)
 TO:    REGIONAL ADMINISTRATOR                                          4, PROPOSED EFFECTIVE DATE
        HEALTH CARE FINANCING ADMINISTRATION
        DEPARTMENT OF HEALTH AND HUMAN SERVICES                                 January 1, 2010
 5. TYPE OF PLAN MATERIAL (Check One):
    [_] NEW STATE PLAN      [-] AMENDMENT TO BE CONSIDERED AS NEW PLAN                                   AMENDMENT
           COMPLETE BLOCKS 6 THRU 10 IF THIS IS AN AMENDMENT (Separate Transmittal for each amendment)
 6. FEDERAL STATUTE/REGULATION CITATION:                 7. FEDERAL BUDGET IMPACT:
    42 CFR 447,321                                          a. FFY 2010                           * $0.00
                                                            b. FFY _2011                          * $0.00
 8. PAGE NUMBER OF THE PLAN SECTION OR ATTACHMENT;                     5. PAGE NUMBER OF THE SUPERSEDED PLAN
                                                                          SECTION OR ATTACHMENT (ff Applicable):
 Attachment 4.19-B, Item 2.a, Page 8                                   None (New Page)




 10. SUBJECT OF AMENDMENT: The purpose of this amendment is to provide for supplemental payments to
 outpatient non-rural, non-state hospitals that enter into an agreement with a state or local governmental entity
 for the purpose of providing healthcare'services to low income and needy patients,
  11, GOVERNOR’S REVIEW (Check One):
      A GOVERNOR'S OFFICE REPORTED NO COMMENT                              OTHER, AS SPECIFIED:
          COMMENTS OF GOVERNOR’S OFFICE ENCLOSED                           The Governor does not review state plan material.
          NO REPLY RECEIVED WITHIN 45 DAYS OF SUBMITTAL
 12. SIGNANURE OF STAIA AGENCY OFFICIAL:                             16. RETURN TO;
                                                                         State of Louisiana
 13, TYPED NAME:                                                         Department of Health and Hospitals
       Alan Levine                                                       628 N. 4™ Street
$14. a                                                                   PO Box 91030
     Ae
      eC:
          ECBAITTIED:                                                    Baton Rouge, LA 70821-9030
       December 30, 2009
                                               FOR REGIONAL OFFICE USE ONLY
 17. DATE RECEIVED:         30 December, 2009                        18. DATE   APPROVED:          29   October,   2010

                                 PLAN APPROVED — ONE COPY ATTACHED
 19, EFFECTIVE DATE OF APPROVED MATERIAL:           20. SIGNALEREAF REGIONAL OFFICIAL:
                             1 January, 2010
 21. TYPED NAME:                                                     22. TITLE. Associate Regional
                             Bill Brooks                                          Division of Medicaid & Children's Health
 23. REMARKS:
 * The fiscal impact is unable to be determined at this time as this is a new process for the state and so no hospitals have
 qualified yet.




FORM HCFA-179 (07-92)
 STATE PLAN UNDER TITLE XIX OF THE SOCIAL SECURITY ACT                                 ATTACHMENT 4.19-B
 MEDICAL ASSISTANCE PROGRAM                                                                 Item 2.a., Page 8
 STATE OF LOUISIANA

 PAYMENT FOR MEDICAL AND REMEDIAL CARE AND SERVICES
 METHODS AND STANDARDS FOR ESTABLISHING PAYMENT RATES - OTHER TYPES OF CARE OR
 SERVICES LISTED IN SECTION 1905(A) OF THE ACT THAT ARE INCLUDED IN THE PROGRAM
 UNDER THE PLAN AS DESCRIBED AS FOLLOWS:

                    Supplemental Payments for Low Income and Needy Care Collaboration Hospitals

                   Effective for dates of service on or after January 1, 2010, quarterly supplemental
                   payments will be issued to qualifying non-rural, non-state hospitals for outpatient
                   services rendered during the quarter. Maximum aggregate payments to all qualifying
                   hospitals in this group shall not exceed the available upper payment limit per state fiscal
                   year.
                     1.   Qualifying Criteria. In order to qualify for the supplemental payment, the non-
                          rural, non-state hospital must be affiliated with a state or local governmental entity
                          through a Low Income and Needy Care Collaboration Agreement
                          a.    A non-state hospital is defined as a hospital which is owned or operated by a
                                private entity.
                                A Low Income and Needy Care Collaboration Agreement is defined as an
                                agreement between a hospital and a state or local governmental entity to
                                collaborate for purposes of providing healthcare services to low income and
                                needy patients.
                    zs    Reimbursement Methodology. Each qualifying hospital shall receive quarterly
                          supplemental payments for the outpatient services rendered during the quarter.
                          Quarterly payment distribution shall be limited to one-fourth of the lesser of:
                          a.   the difference between each qualifying hospital’s outpatient Medicaid billed
                                charges and Medicaid payments the hospital receives for covered outpatient
                                services provided to Medicaid recipients. Medicaid billed charges and
                                payments will be based on a 12 consecutive month period for claims data
                                selected by the Department; or
                               for hospitals participating in the Medicaid Disproportionate Share Hospital
                               (DSH) Program, the difference between the hospital’s specific DSH limit and
                               the hospital’s DSH payments for the applicable payment period.



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         SUPERSEDES: NONE - NEW PAGE

TN#     09-S6                  Approval Date__   /0 -29-/0                 Effective Date__/~/-/O
 Supersedes SUPERSEDES: NONE - NEW PAGE
 TN#
